    Case 2:08-cr-00213-MVL-ALC           Document 231        Filed 12/17/09     Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA



 UNITED STATE OF AMERICA                                         CRIMINAL ACTION
 VERSUS                                                          NO: 08-213
 JIMMIE LEE WINTERS                                              SECTION: "S" (5)


                                  ORDER AND REASONS

       IT IS HEREBY ORDERED that Defendant’s Motion for Reduction of Sentence Pursuant

to 18 U.S.C. § 3582 (Doc. # 211) is DENIED.

       Title 18, United States Code, Section 3582(c) permits the court to modify final sentencing

judgments under specified circumstances:

              (1) in any case–

              (A) the court, upon motion of the Director of the Bureau of Prisons,
              may reduce the term of imprisonment (and may impose a term of
              probation or supervised release with or without conditions that does
              not exceed the unserved portion of the original term of
              imprisonment), after considering the factors set forth in section
              3553(a) to the extent that they are applicable, if it finds that--

              (i) extraordinary and compelling reasons warrant such a reduction; or
    Case 2:08-cr-00213-MVL-ALC            Document 231         Filed 12/17/09      Page 2 of 3




               (ii) the defendant is at least 70 years of age, has served at least 30
               years in prison, pursuant to a sentence imposed under section
               3559(c), for the offense or offenses for which the defendant is
               currently imprisoned, and a determination has been made by the
               Director of the Bureau of Prisons that the defendant is not a danger
               to the safety of any other person or the community, as provided under
               section 3142(g);

               and that such a reduction is consistent with applicable policy
               statements issued by the Sentencing Commission; and

               (B) the court may modify an imposed term of imprisonment to the
               extent otherwise expressly permitted by statute or by Rule 35 of the
               Federal Rules of Criminal Procedure; and

               (2) in the case of a defendant who has been sentenced to a term of
               imprisonment based on a sentencing range that has subsequently been
               lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o),
               upon motion of the defendant or the Director of the Bureau of
               Prisons, or on its own motion, the court may reduce the term of
               imprisonment, after considering the factors set forth in section
               3553(a0 to the extent that they are applicable, if such a reduction is
               consistent with applicable policy statements issued by the Sentencing
               Commission.

       Here, there was no motion by the Director of the Bureau of Prisons and the Sentencing

Commission has not subsequently lowered the sentencing range. Further, Rule 35 of the Federal

Rules of Criminal Procedure provides that a district court may correct a sentence that resulted from

arithmetical, technical, or other clear error within 7 days after sentencing or upon the government’s

motion for substantial assistance. The government has not filed a motion for reduction. Moreover,

the defendant was sentenced on July 8, 2009, and pursuant to Rule 35, this court lacks jurisdiction

to address his request for a sentence reduction.




                                                   2
Case 2:08-cr-00213-MVL-ALC       Document 231      Filed 12/17/09   Page 3 of 3




                              17th
  New Orleans, Louisiana, this _____ day of December, 2009.



                   ____________________________________
                        MARY ANN VIAL LEMMON
                    UNITED STATES DISTRICT JUDGE




                                       3
